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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                             Chapter 11
In re:
                                                             Case No. 23-10831 (MFW)
Lordstown Motors Corp., et al.,1
                                                             (Jointly Administered)
                           Debtors.
                                                             Objection Deadline:
                                                             March 5, 2024, at 4:00 p.m. (ET)

                                                             Hearing Date:
                                                             March 14, 2024, at 3:00 p.m. (ET)

    SECOND INTERIM FEE APPLICATION OF HURON CONSULTING GROUP, INC.,
 FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
      FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
              REIMBURSEMENT OF EXPENSES FOR THE PERIOD
               OCTOBER 1, 2023 THROUGH DECEMBER 31, 2023


     Name of Applicant:                                 Huron Consulting Group, Inc. (“Huron”)

     Authorized to provide professional
     services to:                                       Official Committee of Unsecured Creditors

     Petition Date:                                     June 27, 2023

     Date of Retention:                                 August 23, 2023, effective as of July 18, 2023

     Period for which compensation and                 October 1, 2023 through December 31 2023 (the
     reimbursement are sought:                        “Application Period”)

     Amount of compensation sought as actual,
                                                        $404,725.00
     reasonable, and necessary:

     Amount of expense reimbursement sought
                                                        $67.20
     as actual, reasonable, and necessary:

This is a(n):      _ monthly          X   interim         final application
Huron Consulting Services LLC intends to seek compensation in connection with the preparation of this Application
at a later date.


 1
       The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
       (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000
       Hills Tech Ct., Farmington Hills, MI 48331.
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                                  PRIOR FEE STATEMENTS
                            October 1, 2023 through December 31, 2023

                                                   CNO                             Amount of      Amount of
   Monthly Fee                        Total        Filing       Amount of Fees     Expenses        Holdback
Period, Date Filed    Total Fees    Expenses       Date,         Paid or to be    Paid or to be   Fees Sought
   & Docket No.       Requested     Requested    Docket No.       Paid (80%)      Paid (100%)       (20%)
10/01/23 – 10/31/23
                                                  12/13/23
     11/22/23         $158,852.50     $0.00                       $127,082.00        $0.00        $31,770.50
                                                  D.I. 817
      D.I. 734
11/01/23–11/30/23
                                                  01/18/24
     12/21/23         $136,467.50    $67.20                       $109,174.00        $67.20       $27,293.50
                                                  D.I. 916
      D.I. 857
 12/01/23-12/31/23
     01/30/24         $109,405.00     $0.00       pending         $87,524.00         $0.00        $21,881.00
      D.I. 936
     TOTALS           $404,725.00    $67.20                       $323,780.00        $67.20       $80,945.00




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                SUMMARY OF COMPENSATION BY TIMEKEEPER
                    October 1, 2023 through December 31, 2023

Professional           Position              Billing Rate   Total Hours      Total Fees
Laura Marcero          Managing Director     $     1,100        59.2       $ 65,120.00
Timothy Martin         Managing Director           1,100        42.2          46,420.00
Robert Loh             Senior Director               950      131.0          124,450.00
Shawn Creedon          Project Consultant            950        37.7          35,815.00
Paul Trenti            Director                      700        40.3          28,210.00
Holger Ericsson        Manager                       600        97.1          58,260.00
Kirstyn McGuinness     Manager                       600        57.7          34,620.00
Rommel Hernandez       Analyst                       325        36.4          11,830.00
                                                              501.6        $ 404,725.00




             SUMMARY COMPENSATION BY PROJECT CATEGORY
                  October 1, 2023 through December 31, 2023

Matter
Code     Task Description                                   Total Hours      Total Fees
  2      Claim Analysis                                      231.5        $ 183,775.00
  3      Asset Analysis and Recovery                           78.9          69,790.00
  4      Contract Rejection Analyses                            7.7           7,525.00
  5      Cash Flow Analysis/Reporting                        117.7           82,012.50
  6      Meetings and Communications                           23.9          20,777.50
  7      Disclosure Statement / Plan of Reorganization         27.3          26,860.00
  8      Business Analysis                                      1.1             845.00
 12      Retention and Fee Applications                        13.5          13,140.00
         Total                                               501.6        $ 404,725.00
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       SUMMARY OF EXPENSES BY CATEGORY
        October 1, 2023 through December 31, 2023


     Expense Type                                   Amount
     Electronic Docket Searches,
                                                    $67.20
     Document Retrieval
     Total                                          $67.20
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                           Chapter 11
In re:
                                                           Case No. 23-10831 (MFW)
                                     2
Lordstown Motors Corp., et al.,
                                                           (Jointly Administered)
                          Debtors.
                                                           Objection Deadline:
                                                           March 5, 2024, at 4:00 p.m. (ET)

                                                           Hearing Date:
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       SECOND INTERIM FEE APPLICATION OF HURON CONSULTING GROUP, INC.,
    FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
         FOR ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
                 REIMBURSEMENT OF EXPENSES FOR THE PERIOD
                  OCTOBER 1, 2023 THROUGH DECEMBER 31, 2023

         In accordance with the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Chapter 11 Professionals and Committee Members [Docket No. 181] (the

“Interim Compensation Procedures”), Huron Consulting Group, Inc. (“Huron”), as financial advisor to

the Official Committee of Unsecured Creditors (the “Committee”) to the debtors and the debtors in

possession (collectively, the “Debtors”) in the above-captioned chapter 11 case, hereby files this second

interim application (this “Application”) for the period from October 1, 2023, to and including December

31, 2023 (the “Application Period”) requesting interim allowance and payment of $404,792.20, which

consists of (i) compensation for professional services to the Committee in the amount of $404,725.00

(representing 100% of the fees earned by Huron for professional services to the Committee during the




2
     The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
     (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000
     Hills Tech Ct., Farmington Hills, MI 48331.
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Application Period) and (ii) reimbursement of 100% of the actual and necessary expenses incurred by

Huron during the Application Period in the amount of $67.20.

                                         Summary of Services

       1.      The total number of hours expended by Huon professionals performing services for the

Committee during the Application Period was 501.6 hours. Pursuant to the Retention Order, Huron is

entitled to monthly compensation for its services provided to the Committee at its current hourly rates,

plus reimbursement of necessary out of pocket expenses. The following paragraphs describe the

primary services rendered by Huron during the Application Period.

Code 2 – Claims Analysis (231.5 hours)

       2.      During the Application Period, in coordination with Committee Counsel, Huron

undertook various analyses to value the claims pool. This work included a detailed review of filed

proofs of claim and amendments, reconciliation of filed proofs of claim to the Debtors’ claims analyses,

and correspondence/meetings with the Debtors’ professionals to obtain additional information.

Code 3 – Asset Analysis and Recovery (78.9 hours)

       3.      During the Application Period, Huron continued to maintain a complex recovery model

to understand the flow of value to different classes of creditors within the Debtors’ estate under various

hypothetical Plan structures. Huron also participated on calls with the Debtors’ professionals to discuss

multiple iterations to the Debtors’ waterfall analysis. The Huron team also prepared multiple

presentations for the UCC regarding potential recovery scenarios, allowing the Committee to make

informed decisions about the Debtors’ and UCC advisors’ proposals to optimize creditor recoveries.

Code 4 – Contract Rejection Analyses (7.7 hours)

       4.      During the Application Period, Huron reviewed and analyzed potential contract rejection

damage claims associated with a variety of contract types (lease, employment, vendors, etc.). Huron also

participated on calls with the Debtors’ professionals to discuss the assumption of certain contracts and
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the evaluation of potential rejection liabilities. The Huron team incorporated this information into various

recovery analyses.

Code 5 – Cash Flow Analysis / Reporting (117.7 hours)

       5.      During the Application Period, Huron reviewed and analyzed the Debtors’ weekly cash

flow reports, investigated variances from budgeted amounts and analyzed the Debtor’s cash flow

budgets through the anticipated completion of the Chapter 11 Cases. This category also includes the

preparation of presentation materials to communicate these analyses to the Committee.

Code 6 – Meetings and Communications (23.9 hours)

       6.      During the Application Period, Huron participated in meetings with the Committee and

its advisors. Entries in this task code primarily correspond to weekly standing Committee and advisor

calls which covered a range of case issues based on the latest case developments and deliverables. This

code also includes discussion with other Committee professionals regarding case developments.

Code 7 – Disclosure Statement / Plan of Reorganization (27.3 hours)

       7.      During the Application Period, Huron spent time reviewing, analyzing, and providing

input on the Debtors’ proposed plan of reorganization and disclosure statement. Huron also assisted

Committee Counsel in evaluating a potential objection to the Debtors’ proposed plan of reorganization.

Code 8 – Business Analysis (1.1 hours)

       8.      During the Application Period, Huron reviewed various court filings related to ongoing

operations and corresponded with the Debtors regarding professional fee estimates in connection with

cash flow forecast updates.




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Code 12 – Retention and Fee Application (13.5 hours)

       9.      During the Application Period, Huron prepared and reviewed fee statements and

applications in accordance with requirements of the U.S. Trustee and/or the Court.

                                        Summary of Expenses

       10.     Huron also incurred certain necessary expenses during the Application Period for which

it is entitled to reimbursement. As set forth in each application as set forth in this Application, Huron

incurred expenses in the amount of $67.20.




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                                CERTIFICATION OF COMPLIANCE


       I, Laura Marcero, pursuant to 28 U.S.C. § 1746, to the best of my knowledge and belief, and

after reasonable inquiry, declare as follows:

       1.      I am a Managing Director with the consulting firm Huron Consulting Group Inc.

(“Huron”). Huron has rendered professional services to the Official Committee of Unsecured Creditors

(the “Committee”) in these Chapter 11 cases.

       2.      I have read the foregoing statement of Huron for compensation and reimbursement of

expenses (the “Fee Application”). To the best of my knowledge, information and belief formed upon

the basis of my participation in this case, as well as after reasonable inquiry, the facts set forth in the

foregoing Fee Application are true and correct and materially comply with the applicable orders, rules,

guidelines, and requirements as set forth by the Bankruptcy Code, the Federal Rules of Bankruptcy

Procedure, Del. Bankr. L.R. 2016-2, and the Executive Office for the United States Trustee.


Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the forgoing is true and correct,

to the best of my information, knowledge, and belief.

Executed on: February 14, 2024                        HURON CONSULTING GROUP, INC.

                                                      By: /s/ Laura Marcero
                                                      Laura Marcero
